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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS



ROADGET BUSINESS PTE. LTD., a private
limited company organized in the country of
Singapore,

                     Plaintiff,               CIVIL ACTION NO. 1:23-cv-16262

       v.
                                              Judge: Hon. Jeffrey I. Cummings
THE INDIVIDUALS, CORPORATIONS,
LIMITED LIABILITY COMPANIES,
PARTNERSHIPS, AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON
SCHEDULE A HERETO,

                     Defendants.



                 DEFENDANTS’ UNOPPOSED MOTION FOR JOINDER
                          TO MOTION FOR REFERRAL
            TO THE REGISTER OF COPYRIGHTS UNDER 17 U.S.C. § 411(b)(2)
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          Defendant No. 19 listed on Schedule A (“Joining Defendant”)1 moves this Court for leave

to join in the motion filed by Defendant Nos. 10 and 17 (“Moving Defendants”) for Referral to

the Copyright Office under 17 U.S.C. § 411(b)(1) (“Referral Motion”). See ECF No. 62. Plaintiff

does not oppose the instant motion for joinder.

          In this Schedule A action, all 33 Defendants are accused of infringing on the same copyright

allegedly owned by Plaintiff Roadget Business Pte. Ltd. (“Roadget”). See ECF No. 5 at ¶¶ 12–

15. All of these allegations are predicated on infringement of a single creative work: an image of

a teddy bear performing a dabbing gesture titled “Swag Bear.” Id. at ¶ 15. Roadget claims to own

a copyright registration for this work, VA-2-306-339, as well as a supplementary registration, VA

2-351-450 (“Asserted Copyright Registrations”). Id. at ¶ 12.

          However, Moving Defendants have raised serious concerns as to statements Roadget made

in the prosecution of Roadget’s Asserted Copyright Registrations that require answers from the

Copyright Office. Specifically, Moving Defendants have identified that Roadget falsely claimed

to be both the owner and the author in the original application for its Asserted Copyright

Registrations. See ECF No. 63 at 2. Worse, Roadget then applied for a supplemental registration

– presumably to correct the ownership error – and “falsely told the Copyright Office that it was

the owner of the Swag Bear copyright by a ‘written agreement’ . . . [;] [y]et the alleged ‘written

agreement’ did not exist. Id. As cited by Moving Defendants, “[i]n any case in which inaccurate

information described under [section 411(b)(1)] is alleged, the court shall request the Register of

Copyrights to advise the court whether the inaccurate information, if known, would have caused

the Register of Copyrights to refuse registration.” 17 U.S.C. § 411(b)(1). Based on these facts




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    Defendant No. 19 (Guangzhou Retaimei Trade Co., Ltd. DBA Brother fashion)

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and authorities, Moving Defendants request referral to the Register of Copyrights in the Referral

Motion.

        Courts in this District generally permit parties to join in pending motions where the moving

party and the joining party are identically situated as it relates to the issues briefed in the motion,

such that no additional factual development or briefing is required. See Morgan v. Nat’l R.R.

Passenger Corp., No. 18-cv-3379, 2019 WL 414714, at *5 (N.D. Ill. Feb. 1, 2019) (permitting

Amtrak to join in State Farm’s motion to dismiss the plaintiff’s claim charging both companies

with conspiring to violate the plaintiff’s constitutional rights); see also Jones v. Gonzalez, No. 22-

cv-1333, 2023 WL 4549508, at *4 (N.D. Ill. July 14, 2023) (permitting joinder for similar reasons,

and adding it would not “add any extra work for anybody.”). Here, the defendants in this action

are identically situated as it relates to Roadget’s Asserted Copyright Registrations. Specifically,

Roadget has accused all defendants in this matter of infringing the rights embodied in its Asserted

Copyright Registrations. See ECF No. 5 at ¶¶ 12– 15. The statements Roadget made and the false

information it provided to the Copyright Office in prosecuting these registrations are facts agnostic

to the defendant against which Roadget attempts to assert its Asserted Copyright Registrations.

No further factual development or briefing is required for Joining Defendant to join in the Referral

Motion.

        Therefore, Joining Defendant requests that it be permitted to join the Referral Motion, and

adopt in full the briefing therein.

Dated: June 20, 2024                                   Respectfully submitted,

                                                       /s/Christopher J. Fahy
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